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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                                 Columbia Division

   Midway International, Inc.,
                                                Case No. 3:20-cv-03213-JMC
                 Plaintiff,
  v.                                            CONSENT JUDGMENT AND
                                                PERMANENT INJUNCTION
  StylesByKey Braiding Studio LLC, a
  South Carolina Limited Liability
  Company, and Jakecia White, an
  individual
                 Defendants.



        Pursuant to the stipulation of the parties, and for good cause, the Court hereby enters the

following consent judgment and permanent injunction against Defendants:

                                    Stipulated Findings of Fact

        1.     Plaintiff Midway International, Inc. (“Midway”) is the owner of the well-known

BOBBI BOSS house brand of hair braids, extensions, wigs, and other hair pieces. Midway is a

California corporation with its principal place of business at 13131 East 166th Street, Cerritos,

California 90703.

        2.     Midway is one of the top hair products distributors in the world and a leading

provider of hair braids, extensions, wigs and other hair pieces. Among its various product lines

is the NU LOCS line of hair extensions, which Midway has been selling throughout the United

States since at least October of 2016.

        3.     Midway owns the U.S. federal trademark registration for BOBBI BOSS NU

LOCS (Registration No. 5168482) – which combines its BOBBI BOSS house mark with its




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NU LOCS product mark – as used for “Hair pieces; and add-in and add-on hair accessories

constructed primarily of synthetic hair.”

       4.     Among other things, Midway’s federal registration constitutes prima facie

evidence of its ownership and exclusive right to use the registered mark in commerce on or in

connection with hair pieces and add-in and add-on hair accessories made of hair.

       5.     Midway also owns common law trademark rights in NU LOCS alone.

       6.     Midway advertises its NU LOCS products in a variety of channels, including

without limitation on social media platforms such as Facebook, Instagram, Pinterest, and

YouTube, and has over 125,000 followers on Instagram alone.

       7.     As a result of Midway’s promotion and substantial sales of its NU LOCS product

line, NU LOCS has become known to the relevant consumers as symbolizing the goodwill and

consistent high quality they have come to expect from Midway’s hair products.

       8.     StylesByKey Braiding Studio LLC (“SBK”) is a South Carolina limited liability

company with its principal place of business at 6531-A Two Notch Road, Suite 103, Columbia,

South Carolina 29223.

       9.     Jakecia White is a resident of Columbia, South Carolina, and is the owner,

founder, and manager of SBK.

       10.    Withing the past several months, Defendants began advertising and selling their

own line of hair products using the mark NU LOCS without authorization from Midway (the

“Infringing Products”). Below is a true and correct representation of Defendants’ use of the

NU LOCS mark on their product packaging:




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       11.    Defendants have been selling the Infringing Products at the SBK salon and on

the website at www.keystrapp.com.

       12.    Defendants target the same prospective consumers as Midway, using some of

the same marketing channels for their products.

       13.    Midway has not authorized Defendants to use NU LOCS in connection with

their hair products.

       14.    Midway does not and has no means to control the quality of the Defendants’

Infringing Products.

       15.    Defendants state that they did not intentionally infringe upon Midway’s NU

LOCS trademarks.

                                     Conclusions of Law

       16.    This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§1331 and 1338 because it arises under the federal Lanham Act, 15 U.S.C. §1051 et seq.



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          17.   This Court has supplemental jurisdiction over Midway’s state law claims

pursuant to 28 U.S.C. §1367 because they form part of the same case or controversy.

          18.   This Court has personal jurisdiction over the defendants because they are

residents of this District and have engaged in infringing activities in this District.

          19.   Venue is proper in this District pursuant to 28 U.S.C. §1391(b), and in this

Division pursuant to Local Civ. Rule 3.01(a)(1) (D.S.C.).

          20.   Midway has prior rights in the BOBBI BOSS NU LOCS and NU LOCS marks.

          21.   Defendants’ use of NU LOCS in connection with the advertising and sale of their

hair products is likely to cause confusion with, and therefore infringes, Midway’s federal

trademark rights in Midway’s BOBBI BOSS NU LOCS mark and its common law trademark

rights.

          22.   Defendants’ use of NU LOCS in connection with the advertising and sale of their

hair products is likely to cause confusion with, or to cause mistake, or to deceive as to the

affiliation, connection, or association of Midway with the Defendants, or as to the origin,

sponsorship, or approval of Defendants’ Infringing Products by Midway.

          23.   Defendants’ actions constitute unfair trade practices under Section 39-5-20 of

the South Carolina Code.

          24.   Midway has been damaged, and if the infringement is not stopped will continue

to be irreparably harmed, by Defendants’ advertising and sale of the Infringing Products.

          25.   The public interest supports the entry of an injunction against Defendants.




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IT IS THEREFORE ORDERED, ADJUDGED AND DECREED:

      A.      Judgement is hereby entered in favor of Plaintiff and against Defendants on all

four counts of the Complaint.

      B.      Defendants StylesByKey Braiding Studio, LLC and Jakecia White, together

with their officers, agents, servants, employees, attorneys, and all other persons who are in

active concert or participation with them, are hereby permanently enjoined from doing any of

the following:

      (i)     using NU LOCS, or any colorable imitation thereof, on or in connection with any

              hair pieces, hair extensions, hair braids, wigs, and any other products made from or

              consisting of synthetic and/or human hair, and/or in connection with any hair-

              related services;

      (ii)    using NU LOCS, or any colorable imitation thereof, in connection with the

              advertising, promotion, and/or sale of any hair pieces, hair extensions, hair braids,

              wigs, and any other products made from or consisting of synthetic and/or human

              hair, and/or any hair-related services;

      (iii)   making any statements or representations that are likely to cause confusion among

              consumers, or to cause mistake, or to deceive as to the affiliation, connection, or

              association of Midway with the Defendants, or as to the origin, sponsorship, or

              approval of any of Defendant’s products and services by Midway; and

      (iv)    engaging in any acts intended to deceive the public as to an affiliation between

              Midway and Defendants or their products.




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          C.   Each party shall bear their own respective costs and attorney’s fees incurred in this

action.



ENTERED THIS 21st DAY OF OCTOBER 2020.

                                                           s/J. Michelle Childs
                                                           J. Michelle Childs
                                                           United States District Court
Columbia, South Carolina




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